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                 BEFORE THE UNITED STATES JUDICIAL PANEL ON
                         MULTIDISTRICT LITIGATION

IN RE: GOODRX AND                PHARMACY
BENEFIT     MANAGER              ANTITRUST           MDL No. 3148
LITIGATION II




                                   NOTICE OF ERRATA

       In compliance with the Rules of Procedure for the United States Judicial Panel on

Multidistrict Litigation, forthwith is a Corrected Schedule of Actions which only encompasses

the Actions of the counsel listed below.

DATED: February 12, 2025                          Respectfully Submitted,

                                                  /s/ Blake Hunter Yagman

                                                  Blake Hunter Yagman
                                                     LEEDS BROWN LAW, P.C.
                                                  One Old Country Road, Suite 347
                                                  Carle Place, New York 11514
                                                  Tel.: (929) 709-1493
                                                  Email: byagman@leedsbrownlaw.com


                                                  Counsel for Plaintiff Weston Pillbox




                                             1
        Case CAC/2:24-cv-10543 Document 23 Filed 02/12/25 Page 2 of 13




                                        EXHIBIT A
                                     PROOF OF SERVICE

Served via electronic mail:
Daniel L. Warshaw
Pearson Warshaw, LLP
15165 Ventura Boulevard, Suite 400
Sherman Oaks, CA 91403
Telephone: (818) 788-8300
Facsimile: (818) 788-8104
Email: dwarshaw@pwfirm.com

David W. Asp
Lockridge Grindal Nauen PLLP
100 Washington Avenue South, Suite 2200
Minneapolis, MN 55401
Telephone: (612) 339-6900
Facsimile: (612) 339-0981
Email: dwasp@locklaw.com

Heidi M. Silton
Lockridge Grindal Nauen PLLP
100 Washington Avenue South, Suite 2200
Minneapolis, MN 55401
Telephone: (612) 339-6900
Facsimile: (612) 339-0981
Email: hmsilton@locklaw.com

Joseph C. Bourne
Lockridge Grindal Nauen PLLP
100 Washington Avenue South Minneapolis, MN 55401
Telephone: (612) 339-6900
Facsimile: (612) 339-0981
Email: jcbourne@locklaw.com

Kira Q. Le
Lockridge Grindal Nauen PLLP
100 Washington Avenue South, Suite 2200
Minneapolis, MN 55401
Telephone: (612) 339-6900
Facsimile: (612) 339-0981
Email: kqle@locklaw.com

Naveed Abaie
Pearson Warshaw, LLP
15165 Ventura Boulevard, Suite 400
Sherman Oaks, CA 91403
Telephone: (818) 788-8300


                                            2
         Case CAC/2:24-cv-10543 Document 23 Filed 02/12/25 Page 3 of 13




Email: nabai@pwfirm.com

Bobby Pouya
Pearson Warshaw, LLP
15165 Ventura Boulevard, Suite 400
Sherman Oaks, CA 91403
Telephone: (818) 788-8300
Email: bpouya@pwfirm.com

Counsel for Plaintiff Keaveny Drug, Inc., Case No. 2:24-cv-9379 (C.D. Cal.)
Counsel for Minnesota Independent Pharmacists, 2:24-cv-10297 (C.D. Cal.)

Served via electronic mail:
David Ramraj Singh
Weil Gotshal and Manges LLP
201 Redwood Shores Parkway 4th Floor
Redwood Shores, CA 94065-1134
Telephone: (650) 802-3000
Facsimile: (650) 802-3100
Email: david.singh@weil.com

Counsel for Defendants GoodRx, Inc. and GoodRx Holdings, Inc., Case No.’s 2:24-cv-9379 (C.D.
Cal.), 2:24-cv-9490 (C.D. Cal.), 2:24-cv-9858 (C.D. Cal.)., 2:24-cv-10297 (C.D. Cal.), 2:24-cv-
10543 (C.D. Cal.), 2:24-cv-10899 (C.D. Cal.), 1:24-cv-537 (D.R.I.), 2:24-cv-11023 (C.D. Cal.),
1:24-cv-550 (D.R.I.), 1:25-cv-00003 (D.R.I.), 2:25-cv-00082 (C.D. Cal.), 1:25-cv-00115 (E.D.N.Y.)
and 3:25-cv-00063 (D. Ct.)

Served via electronic mail:
Alec Levy
Quinn Emanuel Urquhart & Sullivan LLP
1300 I Street
Suite 900
Washington, DC 20005
Telephone: (202) 538-8321
Email: aleclevy@quinnemanuel.com

Counsel for Defendant Express Scripts Inc. and Express Scripts Holding Company., Case No.’s 2:24-
cv-9379 (C.D. Cal.), 2:24-cv-9490 (C.D. Cal.), 2:24-cv-9858 (C.D. Cal.)., 2:24-cv-10297 (C.D.
Cal.), 2:24-cv-10543 (C.D. Cal.), 2:24-cv-10899 (C.D. Cal.), 1:24-cv-537 (D.R.I.), 2:24-cv-11023
(C.D. Cal.), 1:24-cv-550 (D.R.I.), 1:25-cv-00003 (D.R.I.), 2:25-cv-00082 (C.D. Cal.), 1:25-cv-00115
(E.D.N.Y.) and 3:25-cv-00063 (D. Ct.)

Served via electronic mail:
Jacqueline P. Rubin
PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
1285 Avenue of the Americas
New York, New York 10019-6064
Telephone: (212) 373-3000
Facsimile: (212) 757-3990


                                                3
         Case CAC/2:24-cv-10543 Document 23 Filed 02/12/25 Page 4 of 13




Email: jrubin@paulweiss.com

Counsel for Defendant CVS Caremark Corporation and CVS Health Corporation, Case No.’s 2:24-
cv-9379 (C.D. Cal.), 2:24-cv-9490 (C.D. Cal.), 2:24-cv-9858 (C.D. Cal.)., 2:24-cv-10297 (C.D.
Cal.), 2:24-cv-10543 (C.D. Cal.), 2:24-cv-10899 (C.D. Cal.), 1:24-cv-537 (D.R.I.), 2:24-cv-11023
(C.D. Cal.), 1:24-cv-550 (D.R.I.), 1:25-cv-00003 (D.R.I.), 2:25-cv-00082 (C.D. Cal.), 1:25-cv-00115
(E.D.N.Y.) and 3:25-cv-00063 (D. Ct.)

Served via electronic mail:
Robert J. Herrington
Greenberg Traurig LLP
1840 Century Park East, Suite 1900
Los Angeles, CA 90067-2121
Telephone: (310) 586-7700
Facsimile(310) 586-7800
Email: robert.herrington@gtlaw.com

Gregory J. Casas
Greenberg Traurig LLP
300 West 6th Street Suite 2050
Austin, TX 78701-4052
Telephone: (512) 320-7200
Email: casasg@gtlaw.com

Counsel for Navitus Health Solutions, LLC, Case No.’s 2:24-cv-9379 (C.D. Cal.), 2:24-cv-9490 (C.D.
Cal.), 2:24-cv-9858 (C.D. Cal.)., 2:24-cv-10297 (C.D. Cal.), 2:24-cv-10543 (C.D. Cal.), 2:24-cv-
10899 (C.D. Cal.), 1:24-cv-537 (D.R.I.), 2:24-cv-11023 (C.D. Cal.), 1:24-cv-550 (D.R.I.), 1:25-cv-
00003 (D.R.I.), 2:25-cv-00082 (C.D. Cal.), 1:25-cv-00115 (E.D.N.Y.) and 3:25-cv-00063 (D. Ct.)

Served via Electronic Mail:
Michelle S. Lowery
MCDERMOTT WILL & EMERY LLP
2049 Century Park East, Suite 3200
Los Angeles, California 90067-3206
Tel.: (310) 277-4110
Email: mslowery@mwe.com

Richard Salgado
MCDERMOTT WILL & EMERY LLP
2501 North Harwood Street, Suite 1900
Dallas, Texas 75201
Tel.: (214) 295-1664
Email: Richard.salgado@mwe.com

Counsel for MedImpact Healthcare Systems, Inc., Case No.’s 2:24-cv-9379 (C.D. Cal.), 2:24-cv-9490
(C.D. Cal.), 2:24-cv-9858 (C.D. Cal.)., 2:24-cv-10297 (C.D. Cal.), 2:24-cv-10543 (C.D. Cal.), 2:24-
cv-10899 (C.D. Cal.), 1:24-cv-537 (D.R.I.), 2:24-cv-11023 (C.D. Cal.), 1:24-cv-550 (D.R.I.), 1:25-
cv-00003 (D.R.I.), 2:25-cv-00082 (C.D. Cal.), 1:25-cv-00115 (E.D.N.Y.) and 3:25-cv-00063 (D. Ct.)



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         Case CAC/2:24-cv-10543 Document 23 Filed 02/12/25 Page 5 of 13




Served via electronic mail:
Alexander E. Barnett
DiCello Levitt LLP
485 Lexington Avenue
Suite 1001
New York, NY 10017
Telephone: (646) 993-1000
Facsimile: (646) 494-9648
Email: abarnett@dicellolevitt.com

Geralyn J. Trujillo
DiCello Levitt LLP
485 Lexington Avenue
Suite 1001
New York, NY 10017
Telephone: (646) 993-1000
Facsimile: (646) 494-9648
Email: gtrujillo@dicellolevitt.com

Gregory S. Asciolla
DiCello Levitt LLP 485 Lexington Avenue Tenth Floor
New York, NY 10017
Telephone: (646) 993-1000
Facsimile: (646) 494-9648
Email: gasciolla@dicellolevitt.com

John M. Shaw
DiCello Levitt LLP
485 Lexington Avenue
Suite 1001
New York, NY 10017
Telephone: (646) 993-1000
Email: jshaw@dicellolevitt.com

Jonathan S. Crevier
DiCello Levitt LLP
485 Lexington Avenue
Suite 1001
New York, NY 10017
Telephone: (646) 993-1000
Email: jcrevier@dicellolevitt.com

Stephen M. Prignano
McIntyre Tate LLP
50 Park Row West, Suite 109
Providence, RI 02903
Telephone: (401) 351-7700
Facsimile: (401) 331-6095



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         Case CAC/2:24-cv-10543 Document 23 Filed 02/12/25 Page 6 of 13




Email: SPrignano@McIntyreTate.com

Joshua H. Grabar
Grabar Law Office
One Liberty Place 1650 Market Street
Suite 3600
Philadelphia, Pennsylvania 19103
Telephone: (267) 507 6085
Email: jcrevier@dicellolevitt.com

Counsel for Philadelphia Association of Retail Druggists, Case No 2:24-cv-11023 (C.D. Cal.)

Served via electronic mail:
Hailey Josephs
Susman Godfrey LLP
1900 Avenue of the Stars
Suite 1400
Los Angeles, California 90067
Tel.: (310) 789-3100
Email: hjosephs@susmangodfrey.com

Natasha Fernandez-Silber
Edelson PC
350 N La Salle Dr., 14th Floor
Chicago, Illinois 60654
Tel.: (312) 589-6370
Email: nfernandezsilber@edelson.com

Counsel for Community Care Pharmacy LLC, Case No. 2:24-cv-9490 (C.D. Cal.)

Served via electronic mail:
Hailey Josephs
Susman Godfrey LLP
1900 Avenue of the Stars
Suite 1400
Los Angeles, California 90067
Tel.: (310) 789-3100
Email: hjosephs@susmangodfrey.com

Natasha Fernandez-Silber
Edelson PC
350 N La Salle Dr., 14th Floor
Chicago, Illinois 60654
Tel.: (312) 589-6370
Email: nfernandezsilber@edelson.com

Alexander E. Barnett


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         Case CAC/2:24-cv-10543 Document 23 Filed 02/12/25 Page 7 of 13




DiCello Levitt LLP
485 Lexington Avenue
Suite 1001
New York, NY 10017
Telephone: (646) 993-1000
Facsimile: (646) 494-9648
Email: abarnett@dicellolevitt.com

Geralyn J. Trujillo
DiCello Levitt LLP
485 Lexington Avenue
Suite 1001
New York, NY 10017
Telephone: (646) 993-1000
Facsimile: (646) 494-9648
Email: gtrujillo@dicellolevitt.com

Gregory S. Asciolla
DiCello Levitt LLP 485 Lexington Avenue Tenth Floor
New York, NY 10017
Telephone: (646) 993-1000
Facsimile: (646) 494-9648
Email: gasciolla@dicellolevitt.com

John M. Shaw
DiCello Levitt LLP
485 Lexington Avenue
Suite 1001
New York, NY 10017
Telephone: (646) 993-1000
Email: jshaw@dicellolevitt.com

Jonathan S. Crevier
DiCello Levitt LLP
485 Lexington Avenue
Suite 1001
New York, NY 10017
Telephone: (646) 993-1000
Email: jcrevier@dicellolevitt.com

Counsel for National Community Pharmacists Association, Case No. 2:25-cv-00585

Served via electronic mail:
Hung G. Ta
Alexander H. Hu
HGT Law
889 Francisco Street, Suite 2006
Los Angeles, California 90017


                                             7
         Case CAC/2:24-cv-10543 Document 23 Filed 02/12/25 Page 8 of 13




Tel.: 646-453-7288
Email: hta@hgtlw.com
        alex@hgtlaw.com

Peter Safirstein
SAFIRSTEIN LAW
45 N. Broad Street, Suite 100
Ridgewood, New Jersey 07450
Tel.: 917-952-9458
Email: psafirstein@safirsteinlaw.com

Counsel for Esco Drug Co., Case No. 2:24-cv-10543 (C.D. Cal.)

Served via electronic mail:
Stephen G. Larson
Paul A. Rigali
Daniel Lahana
LARSON LLP
555 S. Flower Street, 30th Floor
Los Angeles, California 90071
Tel.: (213) 436-4888
Email: slarson@larsonllp.com
        prigali@larsonllp.com
        dlahana@larsonllp.com

John J. Nelson
MILBERG COLEMAN BRYSON
PHILLIPS GROSSMAN, PLLC
280 S. Beverly Drive
Beverly Hills, California 90212
Tel. (858) 209-6941
Email: jnelson@milberg.com

Counsel for CAAS LLC d/b/a/ Harbor Pharmacy, Case No. 2:24-cv-10899 (C.D. Cal.)

Served via electronic mail:
Darren Corrente
CORRENTE LAW
226 South Main Street, 3rd Fl.
Providence, Rhode Island 02903
Tel.: (401) 331-7720
Email: darren@correntelawri.com

Jason P. Sultzer
SULTZER & LIPARI PLLC
85 Civic Center Plaza, Suite 200



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         Case CAC/2:24-cv-10543 Document 23 Filed 02/12/25 Page 9 of 13




Poughkeepsie, New York 12061
Tel.: (845) 483-7100
Email: sultzerj@thesultzerlawgroup.com

James L. Ferraro
THE FERRARO LAW FIRM, P.A.
600 Brickell Avenue, Suite 3800
Miami, Florida 33131
Tel.: (305) 375-0111
Email: jferraro@ferrarolaw.com

Counsel for Bueno Pharmacy LLC, Case No 1:24-cv-537 (D.R.I.)
Counsel for SDDDC LLC, Case No. 1:24-cv-550 (D.R.I.)

Served via electronic mail:
Darren Corrente
CORRENTE LAW
226 South Main Street, 3rd Fl.
Providence, Rhode Island 02903
Tel.: (401) 331-7720
Email: darren@correntelawri.com

Charles E. Schaffer
LEVIN SEDRAN & BERMAN
50 Walnut Street, Suite 500
Philadelphia, Pennsylvania 19106
Tel.: (215) 592-1500
Email: cschaffer@lfsblaw.com

Counsel for Lakhani Rx Inc. d/b/a Garden Drugs Pharmacy, Case No. 1:25-cv-00003 (D.R.I.)

Served via electronic mail:
Michael R. Reese
Carlos F. Ramirez
REESE LLP
100 West 93rd Street, 16th Floor
New York, New York 10025
Tel. (212) 643-0500
Email: mreese@reesellp.com
        cramirez@reesellp.com

Counsel for Pressman, Inc., Case No. 1:25-cv-00115 (E.D.N.Y)

Served via electronic mail:
David R. Cheverie
Alexander Lovejoy



                                            9
        Case CAC/2:24-cv-10543 Document 23 Filed 02/12/25 Page 10 of 13




ROBERT M. CHEVERIE & ASSOCIATES, P.C.
333 East River Drive, Sutie 101
East Hartford, Connecticut 06108
Tel.: (860) 290-9610 ext. 105
Email: dcheverie@cheverielaw.com
        alovejoy@cheverielaw.com

Jeff Ostrow
Kapelowitz Ostrow P.A.
One West Las Olas Blvd., Suite 500
Fort Lauderdale, Florida 33301
Tel.: (954) 332-4200
Email: ostrow@kolawyers.com

Jeffrey K. Brown
Blake Hunter Yagman
LEEDS BROWN LAW, P.C.
One Old Country Road, Suite 347
Carle Place, New York 11514
Tel. (516) 873-9550
Email: jbrown@leedsbrownlaw.com
        byagman@leedsbrownlaw.com

Counsel for Weston Pillbox, Inc., Case No. 3:25-cv-00063 (D. Ct.)

Served via electronic mail:
Jason P. Sultzer
SULTZER & LIPARI PLLC
85 Civic Center Plaza, Suite 200
Poughkeepsie, New York 12061
Tel.: (845) 483-7100
Email: sultzerj@thesultzerlawgroup.com

James L. Ferraro
THE FERRARO LAW FIRM, P.A.
600 Brickell Avenue, Suite 3800
Miami, Florida 33131
Tel.: (305) 375-0111
Email: jferraro@ferrarolaw.com

Jeffrey K. Brown
Blake Hunter Yagman
LEEDS BROWN LAW, P.C.
One Old Country Road, Suite 347
Carle Place, New York 11514
Tel. (516) 873-9550



                                             10
        Case CAC/2:24-cv-10543 Document 23 Filed 02/12/25 Page 11 of 13




Email: jbrown@leedsbrownlaw.com
       byagman@leedsbrownlaw.com

Ryan J. Clarkson
Yana Hart
Mark I. Richards
CLARKSON LAW FIRM, P.C.
22525 Pacific Coast Highway
Malibu, California 90265
Tel.: (213) 788-4050
Email: rclarkson@clarksonlawfirm.com
        yhart@clarksonlawfirm.com
        mrichards@clarksonlawfirm.com

Counsel for Plaintiff Grey Dog IV, Case No. 2:24-cv-9858 (C.D. Cal.)

Served via Electronic Mail:
Daniel L. Warshaw
Pearson Warshaw, LLP
15165 Ventura Boulevard, Suite 400
Sherman Oaks, CA 91403
Telephone: (818) 788-8300
Facsimile: (818) 788-8104
Email: dwarshaw@pwfirm.com

Bobby Pouya
Pearson Warshaw, LLP
15165 Ventura Boulevard, Suite 400
Sherman Oaks, CA 91403
Telephone: (818) 788-8300
Email: bpouya@pwfirm.com

Eric J. Artrip
MASTANDO & ARTRIP, LLC
301 Holmes Ave. NE, Suite 100
Huntsville, Alabama 35801
Tel.: (256) 532-2222
Email: artrip@mastandoartrip.com

Counsel for Plaintiffs C&H Pharmacy Inc. d/b/a Hunnington Pharmacy, Discount Pharmacy,
Inc., Propst Discount Drugs, Inc., Reeves Drug Store, and Star Discount Pharmacy, Inc., Case
No. 2:25-cv-00082 (C.D. Cal.)

Served via Electronic Mail:
Dena C. Sharp
Scott Grzenczyk



                                             11
        Case CAC/2:24-cv-10543 Document 23 Filed 02/12/25 Page 12 of 13




Sean Greene
GIRARD SHARP LLP
601 California Street, Suite 1400
San Francisco, California 94108
Tel.: (415) 981-4800
Email: dsharp@girardsharp.com
        scottg@girardsharp.com
        sgreene@girardsharp.com

Michael J. Boni
Joshua D. Snyder
John E. Sindoni
Benjamin J. Eichel
BONI ZACK & SNYDER LLC
15 St. Asaphs Road
Bala Cynwyd, Pennsylvania 19004
Tel: (610) 822-0200
Email: mboni@bonizack.com
        jsnyder@bonizack.com
        jsindoni@bonizack.com
        beichel@bonizack.com

Counsel to Gus’ Pharmacy LLC d/b/a Kennedy Pharmacy, 2:25-cv-00937 (C.D. Cal.)

Michael M. Buchman
Nathaniel Blakney
Vincent L. Greene
Donald A. Migliori
MOTLEY RICE LLC
40 Westminister Street, 5th Floor
Providence, Rhode Island 02903
Tel: (401) 457-7700
Email: mbuchman@motleyrice.com
        nblakney@motleyrice.com
        vgreene@motleyrice.com
        dmigliori@motleyrice.com

Counsel to Winships Pharmacy, Case No. 1:25-cv-00037 (D.R.I.)

Clerk of Courts

Served via First Class Mail:
Clerk of Court
Central District of California, Western Division
Attn: Brian D. Karth, District Court Executive/Clerk of Court
Edward R. Roybal Federal Building and United States Courthouse



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255 East Temple Street
Los Angeles, California 90012-3332

Served via First Class Mail:
Clerk of Court
District of Rhode Island
Attn: Hanorah Tyer-Witek, Clerk of Court
Federal Building and Courthouse
One Exchange Terrace
Providence, Rhode Island 02903

Served via First Class Mail:
Clerk of Court
District of Connecticut
Attn: Dinah Milton Kinney, Clerk of Court
Abraham Ribicoff Federal Building
United States District Court
450 Main Street
Suite A012
Hartford, Connecticut 06103

Served via First Class Mail:
Clerk of Court
United States District Court for New York’s Eastern District
Attn: Deputy Clerk, Brenna Mahoney
225 Cadman Plaza East
Brooklyn, New York 11201




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